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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA, )
)
)
V. )
) Case No. 1:21-mj-195
ETHAN NORDEAN, )
) Chief Judge Beryl A. Howell
Defendant. )
)

 

DECLARATION OF CORY NORDEAN

I, CORY NORDEAN, a resident of the State of Washington, hereby declare under
penalty of perjury that the following is true and correct:

i. I am the wife of Ethan Nordean, the defendant in the above-captioned case.

Ze On February 3, 2021, federal agents conducted a search of my home, which is
also the home of my husband, Mr. Nordean. The government has represented that the agents
found a U.S. passport in my home “on top of a clothes dresser on Defendant’s side of the bed in
the master bedroom.” 21-mj-195, ECF No. 17, p. 22. That is not accurate. The agents found the
passport inside a jewelry box in the bedroom. The jewelry box belongs to me. I have never seen
Ethan Nordean open or otherwise use the jewelry box. Mr. Nordean has never discussed using
the passport for any reason with me.

2. The passport belongs to an ex-boyfriend of mine. The following accounts for
why I was still in possession of it. When I was still in a relationship with him, I encouraged him
to travel abroad with me. At the time, he did not own a passport. He obtained one solely for the
purpose of traveling with me. When our relationship ended, I was still in possession of some of

his belongings, including the passport. My understanding is that he never requested the return of
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the passport because his interest in traveling abroad was limited to our relationship and at my
request.

4. If Ethan Nordean is released from custody on conditions, I commit to serving as a
third-party custodian pursuant to 18 U.S.C. § 3142(c)(B)(i). I will therefore assure the Court that
Mr. Nordean will appear as required and will not pose a danger to the safety of any other person
or the community.

. The government makes reference to lawfully owned firearms in my home. 21-mj-
195, ECF No. 17, p. 20. Certain of these belong to Mr. Nordean, and certain belong to me. If
Mr. Nordean is released from custody, I will ensure that all of the firearms, belonging to both the
defendant and me, are removed from the possession or constructive possession of Mr. Nordean.
They will be removed from the home and secured to make sure that Mr. Nordean cannot access
them prior to the time that he is released.

6. It is my understanding that his mobile phone was without power throughout
January 6, 2021.

7 The government represents that agents seized a “Baofeng radio” from my home
on February 3. Because I live in his home, I know that Ethan did not receive this radio until
January 7, 2021. To my knowledge, Ethan did not possess one of these radios before that date.
Executed on March 2, 2021.

Respectfully submitted,

CruTorclooun

Cory Nordean

 
